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 1                                                    Honorable John C. Coughenour

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 6                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 7
     BERNADEAN RITTMANN, FREDDIE
 8   CARROLL, and JULIE WEHMEYER,                          No.: 2:16-cv-01554-JCC
     individually and on behalf of all others
 9   similarly situated,                                   STIPULATION TO CONSOLIDATE
                                                           RITTMANN AND RONQUILLO
10                                      Plaintiffs,        ACTIONS AND [PROPOSED]
                                                           ORDER
11             v.
                                                           [Local Rule 42(b)]
12   AMAZON.COM, INC., and AMAZON
     LOGISTICS, INC.,                                      NOTED FOR HEARING
13                                                         MAY 16, 2019
                                      Defendants.
14

15
             It appearing from the docket that the Court has consolidated this transferred action, Ronquillo
16
     v. Amazon.com Inc., et al., No. 2:19-cv-00398-JCC, with Rittmann v. Amazon.com, Inc., et al., No.
17
     2:16-cv-01554-JCC (“Rittmann”), and designated it a “member case,” along with Lawson/Mack v.
18
     Amazon.com, Inc. et al., No. 2:17-cv-01438-JCC (“Lawson/Mack”), and the Parties having agreed to
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     consolidate this matter in their stipulated motion to transfer, and the U.S. District Court for the
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     Central District of California having transferred the case to this Court’s jurisdiction (Dkt. #19), and
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     the Parties further having agreed to stipulate to the consolidation of this action with Rittmann
22
     pursuant to Rule 42 of the Federal Rules of Civil Procedure and Local Rule 42(b), the Parties now
23
     jointly move for the Court to enter a written order consolidating this action with Rittmann, and
24
     directing the Clerk to consolidate case number 2:19-cv-00398-JCC into case number 2:16-cv-01554-
25
     JCC, and directing that all future pleadings shall bear the case number 2:16-cv-01554-JCC.
26


     STIPULATION TO CONSOLIDATE RITTMANN AND                                  K&L GATES LLP
                                                                        925 FOURTH AVENUE, SUITE 2900
     RONQUILLO ACTIONS AND [PROPOSED] ORDER - 1                             SEATTLE, WA 98104-1158
                                                                           TELEPHONE: +1 206 623 7580
     NO.: 2:16-CV-01554-JCC                                                FACSIMILE: +1 206 623 7022
     502251608 v2
         Case 2:16-cv-01554-JCC             Document 122     Filed 05/16/19         Page 2 of 4




 1           IT IS SO STIPULATED.

 2           DATED this 16th day of May, 2019.

 3
       s/ Douglas W. Perlman                               s/ Suzanne J. Thomas
 4
        Douglas W. Perlman (pro hac vice)                  Suzanne J. Thomas, WSBA #17338
 5      Farzad Rastegar (pro hac vice)                     K&L GATES LLP
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14      djohnson@bjtlegal.com
15      Attorneys for Plaintiff Ronquillo
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         Case 2:16-cv-01554-JCC           Document 122        Filed 05/16/19         Page 3 of 4




 1                                           [PROPOSED] ORDER

 2             Pursuant to Local Civil Rule 42(b) and the foregoing stipulation, the Court hereby

 3   consolidates Ronquillo v. Amazon.com Inc., et al., No. 2:19-cv-00398 (W.D. Wash.) (Coughenour,

 4   J.) with Rittmann v. Amazon.com, Inc., et al., No. 2:16-cv-01554 (W.D. Wash.) (Coughenour, J.).

 5   The Clerk is directed to consolidate case number 2:19-cv-00398-JCC into case number 2:16-cv-

 6   01554-JCC. All future pleadings shall bear the case number 2:16-cv-01554-JCC.

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 8             SO ORDERED this ____ day of ________, 2019.

 9                                                           ______________________________
10                                                           John C. Coughenour
                                                             UNITED STATES DISTRICT JUDGE
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         Case 2:16-cv-01554-JCC           Document 122        Filed 05/16/19          Page 4 of 4




 1                                       CERTIFICATE OF SERVICE

 2             I hereby certify that this document filed through the ECF system will be sent electronically to

 3   the registered participants as identified on the Notice of Electronic Filing (NEF) on May 16, 2019.

 4                                                          s/Lori Moltz
                                                            Lori Moltz, Practice Specialist
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     STIPULATION TO CONSOLIDATE RITTMANN AND                                   K&L GATES LLP
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     NO.: 2:16-CV-01554-JCC                                                 FACSIMILE: +1 206 623 7022
     502251608 v2
